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Agpendix 2

 

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. Review of Disapproval §7-5

Each state has established its own unique procedures for approval
of transfers. Therefore, an attorney representing a foreign national
convicted of a state offense should contact the appropriate state
authority to pursue the approval of his client’s transfer request.
Frequently, that authority is named in the applicable state imple-
menting legislation. In addition, the IPTU maintains a list of
the state authorities with whom it deals in prisoner transfer
matters. This information can be obtained on the Intemet at
www.usdoj.gov/criminal/oeo or by calling the II’I`U at 202-514-3684.

If a state authority approves the transfer of a state offender
convicted in that state, the IPTU ordinarily will also approve the
offender’s transfer. In this regard, the IPTU has taken the position
that the transfer of such an offender is primarily the concern of the
affected state, not of the federal govemment. However, there are a
number of situations in which the IP'I'U may refuse to approve such
a transfer. Among these reasons are:

0 The offender fails to meet one or more of the transfer
eligibility requirements mandated by the applicable treaty.

¢ The offender is the subject of an active investigation by
federal authorities or the authorities of another state,

o The offender is needed as a witness in a pending federal
criminal investigation or prosecution or a pending criminal
investigation or prosecution in another state,

 

0 The offender has previously transferred from the United
States.

¢ The offender has repeatedly, illegally entered the United
States, or has been deported, and reentered-particularly
where such an offender has substantial family and social ties
in the United States.

§7-5 Review of Disapproval by United States of
. Request to Transfer

Whereas the prisoner transfer treaty implementing legislation
explicitly deals with the authority of United States courts to consider
challenges to federal and state convictions after the transfer of an
offender from the United States1 and to consider challenges to the
validity and legality of the transfer of such an offender from this
country,2 it is silent with respect to the authority of the courts to

 

1 See §5-5(1), supra.

. 2 See §5-5(2), supra.

7-9 [Decemher 2004]

 

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review decisions by the Departinent of Justice to refuse to approve
the transfer of a foreign offender who was convicted in the; United
States to his country of nationality for service of the remainder of
his sentence. This silencé" raises the question whether there is any

, way inL which siicli am offender carr obtain judicial revievv"~ of the t

United States.’ refusal to permit him to transfer.

As discussed' in §4-4, supra, the Couiici_l of Burope Con`veiition
does not establish any criteria which the sentencing and administer-
ing countries are required to take into consideration in approving or
rejecting transfer requests, Therefore, the Justice Department’s
exercise o§ discretion in rejecting transfer requests under the
Convention is not subject to review tinder the Adniinistrative
Procedure Act or pursuant to a petition for a' writ of mandamus.3 As

also discussed in that Sectioir, it should usually be easy for their

Department_ o§ Justice to articulate reasons for rejecting transfer

requests in compliance with Article IV(4) of the Mexican 'I"reaty `

and similarly worded provisions in many other United States

prisoner transfer treaties Conseq_ueiitly,. federal courts are not likely

to set aside decisions by the Department of justice to deny transfers
under those treaties

Article IH(6) of the Canadian Treaty, however, affords the
Department of Jiistice little flexibility in approving or rejecting
transfer requests. Tliat article limits the Department only to the
consideration of “all factors bearing upon the probability that
transfer will be in the best interests of the Offender. ” It does not
permit the Department to consider the possible adverse effects of
the offender’s transfer on United States law enforcement interests
Because this provision establishes a narrow,"‘meaningful` standard
against which to judge the [D`epartn`ient’s] exercise of 'discretion,”’
disapprovals of transfers under the Canadian Treaty should be
reviewable under the Admimstrative Procedures Act.°

3 Bagguley v. Bu.rh, 953 F.2d 660 (D.C. Cir. 1991), cen. denied, 503 U.S. 995
(1992). See also Coleman v. Reno, 91 F. Supp. 2d 130 (D. D. C. 2000); Brancaccio v.
Reno,964F. Su 1 (D.,D.C.)affd,1997 U..S App Lexis28499(D..C Cir.1997)
(upholding d of injunctive relief pursuant to Alien Tort Act to applicant for
transfer from the United States on the basis of the “unfettered discretion” of the
Attorne General to deny transfer under the Council of Europe Convention). See
altoé- §6~ (1), supra

*See Marquez-Ramos v Reno, 69 F.3d 477 (lOth Cir.1995);Lopez-Ortiz v.
Reno, No. 94-1460 1995 U.S. App. LEXIS 15112 (lOth Cir.1995).
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‘ The only reported case in which an applicant made such an argument was l

decided on other grounds Hag¢zn vi Koem`g, 920 F.Zd 6 (9th Cir. 1990) (liolding
that the rejection of; a transfer application ot a state prisoner by the State of
California was not a violation of the treaty because California is not a atty to the
treaty and, therefore, is "’ound” by the language of Article IIl(6). Id. at 8

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